      FOSS
  DECLARATION
    EXHIBIT 1




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                                                                                                                        ARBITRATION,STAYED

                                               U.S. District Court
                                   District of New Jersey [LIVE] (Trenton)
                            CIVIL DOCKET FOR CASE #: 3:17-cv-01852-MAS-TJB


 NEWMARKET PHARMACEUTICALS, LLC v. VETPHARM,                                               Date Filed: 03/21/2017
 INC. et al                                                                                Jury Demand: None
 Assigned to: Judge Michael A. Shipp                                                       Nature of Suit: 890 Other Statutory Actions
 Referred to: Magistrate Judge Tonianne J. Bongiovanni                                     Jurisdiction: Federal Question
 Cause: 28:1331 Fed. Question: Breach of Contract
 Plaintiff
 NEWMARKET PHARMACEUTICALS,                                              represented by JOEL A PISANO
 LLC                                                                                    WALSH PIZZI O'REILLY FALANGA LLP
 A DELAWARE LIMITED LIABILITY                                                           ONE RIVERFRONT PLAZA
 COMPANY                                                                                1037 RAYMOND BLVD
                                                                                        6TH FLOOR
                                                                                        NEWARK, NJ 07102
                                                                                        973-757-1100
                                                                                        Email: jpisano@thewalshfirm.com
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                            SELINA MIRIAM ELLIS
                                                                                            WALSH PIZZI O'REILLY FALANGA LLP
                                                                                            ONE RIVERFRONT PLAZA
                                                                                            1037 RAYMOND BLVD.
                                                                                            6TH FLOOR
                                                                                            NEWARK, NJ 07102
                                                                                            973-757-1100
                                                                                            Email: sellis@thewalshfirm.com
                                                                                            ATTORNEY TO BE NOTICED

                                                                                            BRYAN PAUL COUCH
                                                                                            Connell Foley
                                                                                            One Newark Center
                                                                                            1085 Raymond Boulevard
                                                                                            19th Floor
                                                                                            Newark, NJ 07102
                                                                                            973 436 5800
                                                                                            Fax: 973 436 5801
                                                                                            Email: bcouch@connellfoley.com
                                                                                            TERMINATED: 11/07/2017
                                                                                            ATTORNEY TO BE NOTICED


 V.
 Defendant
 VETPHARM, INC.                        represented by DANIEL CASE GIBBONS
 A NEW YORK CORPORATION                               NIXON PEABODY LLP
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                                                                                            50 JERICHO QUADRANGLE
                                                                                            JERICHO, NY 11753
                                                                                            516-832-7500
                                                                                            Email: dgibbons@nixonpeabody.com
                                                                                            TERMINATED: 10/29/2018
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED

                                                                                            KELLY JONES HOWELL
                                                                                            HARRIS BEACH PLLC
                                                                                            100 WALL STREET
                                                                                            23RD FLOOR
                                                                                            NEW YORK, NY 10005
                                                                                            212-912-3652
                                                                                            Fax: 212-687-0659
                                                                                            Email: khowell@harrisbeach.com
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED
 Defendant
 DENNI O. DAY                                                            represented by DANIEL CASE GIBBONS
 AN INDIVIDUAL                                                                          (See above for address)
                                                                                        TERMINATED: 10/29/2018
                                                                                        LEAD ATTORNEY
                                                                                        ATTORNEY TO BE NOTICED

                                                                                            KELLY JONES HOWELL
                                                                                            (See above for address)
                                                                                            LEAD ATTORNEY
                                                                                            ATTORNEY TO BE NOTICED
 Defendant
 PRELUDE DYNAMICS, LLC
 A TEXAS LIMITED LIABILITY COMPANY


  Date Filed             #     Docket Text
  03/21/2017               1 COMPLAINT against DENNI O. DAY, PRELUDE DYNAMICS, LLC, VETPHARM,
                             INC. ( Filing and Admin fee $ 400 receipt number 0312-7720841), filed by
                             NEWMARKET PHARMACEUTICALS, LLC. (Attachments: # 1 Civil Cover Sheet)
                             (COUCH, BRYAN) (Entered: 03/21/2017)
  03/21/2017               2 Corporate Disclosure Statement by NEWMARKET PHARMACEUTICALS, LLC
                             identifying NONE as Corporate Parent.. (COUCH, BRYAN) (Entered: 03/21/2017)
  03/21/2017               3 MOTION for Leave to Appear Pro Hac Vice NOTICE OF MOTION FOR AN ORDER
                             ADMITTING JOHN T. MOEHRINGER PRO HAC VICE by NEWMARKET
                             PHARMACEUTICALS, LLC. (Attachments: # 1 Application and Certification of Bryan
                             P. Couch in Support, # 2 Certification, # 3 Proposed Order Admitting PHV - JTM)
                             (COUCH, BRYAN) (Entered: 03/21/2017)
  03/21/2017             4 MOTION for Leave to Appear Pro Hac Vice NOTICE OF MOTION FOR AN ORDER
                            ADMITTING ROBERT M. POLLARO PRO HAC VICE by NEWMARKET
                            PHARMACEUTICALS, LLC. (Attachments: # 1 Application and Certification of Bryan
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                               P. Couch in Support of the Pro Hac Vice Admission of RMP, # 2 Certification, # 3
                               Proposed Order Admitting Pro Hac Vice Robert M. Pollaro)(COUCH, BRYAN)
                               (Entered: 03/21/2017)
  03/21/2017                   Judge Michael A. Shipp and Magistrate Judge Tonianne J. Bongiovanni added. (jjc)
                               (Entered: 03/21/2017)
  03/21/2017               5 MOTION to Seal by NEWMARKET PHARMACEUTICALS, LLC. (Attachments: # 1
                             Declaration, # 2 Brief, # 3 Order Granting Motion to Seal, # 4 Proposed Findings of Fact
                             and Conclusion of Law)(COUCH, BRYAN) (Entered: 03/21/2017)
  03/22/2017                   Set Deadlines as to 3 MOTION for Leave to Appear Pro Hac Vice NOTICE OF
                               MOTION FOR AN ORDER ADMITTING JOHN T. MOEHRINGER PRO HAC VICE.
                               Motion set for 4/17/2017 before Magistrate Judge Tonianne J. Bongiovanni. Unless
                               otherwise directed by the Court, this motion will be decided on the papers and no
                               appearances are required. Note that this is an automatically generated message from the
                               Clerk`s Office and does not supersede any previous or subsequent orders from the Court.
                               (jem) (Entered: 03/22/2017)
  03/22/2017                   Set Deadlines as to 4 MOTION for Leave to Appear Pro Hac Vice NOTICE OF
                               MOTION FOR AN ORDER ADMITTING ROBERT M. POLLARO PRO HAC VICE.
                               Motion set for 4/17/2017 before Magistrate Judge Tonianne J. Bongiovanni. Unless
                               otherwise directed by the Court, this motion will be decided on the papers and no
                               appearances are required. Note that this is an automatically generated message from the
                               Clerk`s Office and does not supersede any previous or subsequent orders from the Court.
                               (jem) (Entered: 03/22/2017)
  03/22/2017               6 SUMMONS ISSUED as to DENNI O. DAY, PRELUDE DYNAMICS, LLC,
                             VETPHARM, INC. Attached is the official court Summons, please fill out Defendant and
                             Plaintiffs attorney information and serve. Issued By *JAWEIA CAMPBELL* (seb)
                             (Entered: 03/22/2017)
  03/22/2017                   Set Deadlines as to 5 MOTION to Seal . Motion set for 4/17/2017 before Magistrate
                               Judge Tonianne J. Bongiovanni. Unless otherwise directed by the Court, this motion will
                               be decided on the papers and no appearances are required. Note that this is an
                               automatically generated message from the Clerk`s Office and does not supersede any
                               previous or subsequent orders from the Court. (seb) (Entered: 03/22/2017)
  03/22/2017               7 Motion/Application for an Order to Show Cause and Temporary Restraining Order by
                             NEWMARKET PHARMACEUTICALS, LLC. (Attachments: # 1 Declaration of Bryan
                             P. Couch, # 2 Exhibit A to Declaration, # 3 Exhibit B to Declaration, # 4 Exhibit C to
                             Declaration, # 5 Exhibit D to Declaration, # 6 Exhibit E to Declaration, # 7 Exhibit F to
                             Declaration, # 8 Exhibit G to Declaration, # 9 Text of Proposed Order to Show Cause, #
                             10 Text of Proposed Order for TRO, # 11 Certification of Bryan P. Couch)(jjc) (Entered:
                             03/22/2017)
  03/22/2017               8 MEMORANDUM of Law in Support filed by NEWMARKET PHARMACEUTICALS,
                             LLC re 7 MOTION/Application for an Order to Show Cause and Temporary Restraining
                             Order (jjc)

                               NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                               consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                               sought to be sealed, or within 14 days following the date on which the last of such materials was filed under
                               temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered: 03/22/2017)

  03/22/2017             9 DECLARATION of Mark Ridall re 8 Memorandum in Support of Motion,, by
                            NEWMARKET PHARMACEUTICALS, LLC. (Attachments: # 1 Exhibit 4 to
                            Declaration)(jjc) (Entered: 03/22/2017)
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  03/22/2017             10 Exhibit to 9 Declaration by NEWMARKET PHARMACEUTICALS, LLC.
                            (Attachments: # 1 Exhibit 2, # 2 Exhibit 3)(jjc)

                               NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                               consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                               sought to be sealed, or within 14 days following the date on which the last of such materials was filed under
                               temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered: 03/22/2017)

  03/22/2017             11 MOTION to Seal by NEWMARKET PHARMACEUTICALS, LLC. (Attachments: # 1
                            Brief in Support, # 2 Proposed Findings of Fact and Conclusions of Law, # 3 Declaration
                            of Bryan P. Couch, # 4 Exhibit A to Declaration, # 5 Exhibit B to Declaration, # 6 Exhibit
                            C to Declaration, # 7 Exhibit D to Declaration, # 8 Text of Proposed Order, # 9
                            Certificate of Service)(jjc) (Entered: 03/22/2017)
  03/22/2017                   Set Deadlines as to 11 MOTION to Seal. Motion set for 4/17/2017 before Magistrate
                               Judge Tonianne J. Bongiovanni. Unless otherwise directed by the Court, this motion will
                               be decided on the papers and no appearances are required. Note that this is an
                               automatically generated message from the Clerk`s Office and does not supersede any
                               previous or subsequent orders from the Court. (jjc) (Entered: 03/22/2017)
  03/22/2017             12 ORDER scheduling a hearing for the 7 MOTION for Temporary Restraining Order for
                            3/31/2017 11:00 AM before Judge Michael A. Shipp. Defendants' response due
                            3/27/2017. Plaintiff's Reply due 3/29/2017. Signed by Judge Michael A. Shipp on
                            3/22/2017. (km) (Entered: 03/22/2017)
  03/22/2017             13 Minute Entry for proceedings held before Judge Michael A. Shipp: Hearing on
                            Application for TRO, # 7 , held on 3/22/2017. Hearing on Plaintiff's TRO Application set
                            for March 31, 2017 at 11:00 AM. Defendants VetPharm, Inc. and Denni O. Day shall file
                            a response by March 27, 2017. Plaintiff shall file its reply brief by March 29, 2017.Order
                            to issue. (Court Reporter: CATHY FORD.) (gxh) (Entered: 03/23/2017)
  03/27/2017             14 MOTION for Leave to Appear Pro Hac Vice for Christopher D. Thomas by DENNI O.
                            DAY, VETPHARM, INC.. (Attachments: # 1 Certification Daniel C. Gibbons, # 2
                            Certification Christopher D. Thomas, # 3 Text of Proposed Order)(GIBBONS, DANIEL)
                            (Entered: 03/27/2017)
  03/27/2017             15 Corporate Disclosure Statement by DENNI O. DAY, VETPHARM, INC.. (GIBBONS,
                            DANIEL) (Entered: 03/27/2017)
  03/27/2017                   Set Deadlines as to 14 MOTION for Leave to Appear Pro Hac Vice for Christopher D.
                               Thomas. Motion set for 5/1/2017 before Magistrate Judge Tonianne J. Bongiovanni.
                               Unless otherwise directed by the Court, this motion will be decided on the papers and no
                               appearances are required. Note that this is an automatically generated message from the
                               Clerk`s Office and does not supersede any previous or subsequent orders from the Court.
                               (km) (Entered: 03/27/2017)
  03/27/2017             16 MOTION to Compel Arbitration and Stay Action by DENNI O. DAY, VETPHARM,
                            INC.. (Attachments: # 1 Affidavit Denni O. Day, # 2 Exhibit Exhibit A to Day Affidavit,
                            # 3 Brief, # 4 Text of Proposed Order)(GIBBONS, DANIEL) (Entered: 03/27/2017)
  03/27/2017             17 NOTICE by DENNI O. DAY, VETPHARM, INC. re 16 MOTION to Compel Arbitration
                            and Stay Action Certificate of Service (GIBBONS, DANIEL) (Entered: 03/27/2017)
  03/28/2017                Set Deadlines as to 16 MOTION to Compel Arbitration and Stay Action. Motion set for
                            5/1/2017 before Judge Michael A. Shipp. Unless otherwise directed by the Court, this
                            motion will be decided on the papers and no appearances are required. Note that this is an
                            automatically generated message from the Clerk`s Office and does not supersede any
                            previous or subsequent orders from the Court. (km) (Entered: 03/28/2017)
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  03/29/2017             18 REPLY BRIEF to Opposition to Motion filed by NEWMARKET
                            PHARMACEUTICALS, LLC re 7 MOTION for Temporary Restraining Order
                            (Attachments: # 1 Declaration of Bryan P. Couch, Esq. w/ Exhibit, # 2 Declaration of
                            Mark Ridall, # 3 Exhibit A-H to Ridall Declaration)(COUCH, BRYAN)

                               NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                               consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                               sought to be sealed, or within 14 days following the date on which the last of such materials was filed under
                               temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered: 03/29/2017)

  03/30/2017             19 Letter from Christopher Thomas re 18 Reply Brief to Opposition to Motion,,.
                            (Attachments: # 1 Supplement)(GIBBONS, DANIEL) (Entered: 03/30/2017)
  03/31/2017             20 Minute Entry for proceedings held before Judge Michael A. Shipp: Hearing on
                            Application for an Order to Show Cause with Temporary Restraints and a Preliminary
                            Injunction, # 7 , filed by Plaintiff held on 3/31/2017. Ordered decision reserved. (Court
                            Reporter: CATHY FORD.) (gxh) (Entered: 03/31/2017)
  04/05/2017             21 MEMORANDUM OPINION filed. Signed by Judge Michael A. Shipp on 4/5/2017. (km)
                            (Entered: 04/05/2017)
  04/05/2017             22 ORDER denying 7 Motion for TRO; Granting 16 Motion to Compel Arbitration and Stay
                            Action, the Court's Memorandum Opinion shall be filed under temporary seal pending
                            the resolution of Plaintiff's 11 Motion to Seal. Signed by Judge Michael A. Shipp on
                            4/5/2017. (km) Modified on 4/10/2017 (eaj, ). (Entered: 04/05/2017)
  04/28/2017             23 ORDER granting 3 Motion for Leave to Appear Pro Hac Vice as to John T. Moehringer,
                            Esq. Signed by Magistrate Judge Tonianne J. Bongiovanni on 4/28/2017. (mmh)
                            (Entered: 04/28/2017)
  04/28/2017             24 ORDER granting 4 Motion for Leave to Appear Pro Hac Vice as to Robert M. Pollaro,
                            Esq. Signed by Magistrate Judge Tonianne J. Bongiovanni on 4/28/2017. (mmh)
                            (Entered: 04/28/2017)
  04/28/2017             25 ORDER granting 5 Motion to Seal. Signed by Magistrate Judge Tonianne J. Bongiovanni
                            on 4/28/2017. (mmh) (Entered: 04/28/2017)
  04/28/2017             26 ORDER granting 11 Motion to Seal. To the extent they have not already been filed,
                            redacted versions of the sealed information shall be filed within 20 days of the date of
                            entry of this Order. Signed by Magistrate Judge Tonianne J. Bongiovanni on 4/28/2017.
                            (mmh) (Entered: 04/28/2017)
  04/28/2017             27 ORDER granting 14 Motion for Leave to Appear Pro Hac Vice as to Christopher D.
                            Thomas, Esq. Signed by Magistrate Judge Tonianne J. Bongiovanni on 4/28/2017. (mmh)
                            (Entered: 04/28/2017)
  04/29/2017             28 Transcript of Order to Show Cause with Temporary Restraints and Preliminary Injunction
                            held on 3/22/2017, before Judge Michael A. Shipp. Court Reporter - Cathy Ford (609-
                            367-2777). NOTICE REGARDING (1) REDACTION OF PERSONAL
                            IDENTIFIERS IN TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL:
                            The parties have seven (7) calendar days to file with the Court a Notice of Intent to
                            Request Redaction of this Transcript to comply with Fed.R.Civ.P.5.2(a) (personal
                            identifiers). Parties seeking to redact and seal this Transcript, or portions thereof,
                            pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal utilizing the event
                            `Redact and Seal Transcript/Digital Recording`. Redaction Request to Court Reporter
                            due, but not filed, by 5/22/2017. Redacted Transcript Deadline set for 5/30/2017. Release
                            of Transcript Restriction set for 7/28/2017. (kas ) (Entered: 05/02/2017)

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  04/29/2017             29 Transcript of Order To Show Cause With Temporary Restraints/ Preliminary Injunction
                            held on 3/31/2017, before Judge Michael A. Shipp. Court Reporter - Cathy Ford (609-
                            367-2777). NOTICE REGARDING (1) REDACTION OF PERSONAL
                            IDENTIFIERS IN TRANSCRIPTS AND (2) MOTION TO REDACT AND SEAL:
                            The parties have seven (7) calendar days to file with the Court a Notice of Intent to
                            Request Redaction of this Transcript to comply with Fed.R.Civ.P.5.2(a) (personal
                            identifiers). Parties seeking to redact and seal this Transcript, or portions thereof,
                            pursuant to L.Civ.R. 5.3(g) must e-file a Motion to Redact and Seal utilizing the event
                            `Redact and Seal Transcript/Digital Recording`. Redaction Request to Court Reporter
                            due, but not filed, by 5/22/2017. Redacted Transcript Deadline set for 5/30/2017. Release
                            of Transcript Restriction set for 7/28/2017. (kas, ) (Entered: 05/02/2017)
  05/09/2017                   Pro Hac Vice fee of $ 300.00 received as to Robert M. Pollaro and John T. Moehringer,
                               receipt number TRE080240 (km) (Entered: 05/11/2017)
  11/07/2017             30 Substitution of Attorney - Attorney BRYAN PAUL COUCH terminated. Attorney JOEL
                            A PISANO for NEWMARKET PHARMACEUTICALS, LLC added.. (PISANO, JOEL)
                            (Entered: 11/07/2017)
  11/07/2017             31 Letter from Joel A. Pisano to the Hon. Michael A. Shipp, U.S.D.J. and to the Hon.
                            Tonianne J. Bongiovanni, U.S.M.J. requesting that the Court reactivate the case and set a
                            scheduling conference. (PISANO, JOEL) (Entered: 11/07/2017)
  11/07/2017             32 NOTICE of Appearance by SELINA MIRIAM ELLIS on behalf of NEWMARKET
                            PHARMACEUTICALS, LLC (ELLIS, SELINA) (Entered: 11/07/2017)
  11/09/2017             33 Letter from Daniel C. Gibbons re 31 Letter. (Attachments: # 1 Exhibit A)(GIBBONS,
                            DANIEL) (Entered: 11/09/2017)
  11/09/2017             34 Letter from Joel A. Pisano to the Honorable Michael A. Shipp, U.S.D.J. and the
                            Honorable Tonianne J. Bongiovanni, U.S.M.J. re 33 Letter. (PISANO, JOEL) (Entered:
                            11/09/2017)
  11/09/2017             35 TEXT ORDER: In consideration of counsel's correspondence (ECF No. 31 ), the Court
                            hereby lifts the stay of this matter. The Parties are instructed to contact Magistrate Judge
                            Bongiovanni's Chambers within seven days of this Text Order regarding the request to
                            schedule a conference. So Ordered by Judge Michael A. Shipp on 11/9/2017. (gxh)
                            (Entered: 11/09/2017)
  11/09/2017             36 Letter from Daniel C. Gibbons re 34 Letter. (Attachments: # 1 Exhibit A)(GIBBONS,
                            DANIEL) (Entered: 11/09/2017)
  11/21/2017             37 Letter from Joel A. Pisano to the Honorable Tonianne J. Bongiovanni, U.S.M.J.
                            (PISANO, JOEL) (Entered: 11/21/2017)
  11/22/2017             38 Letter from Daniel C. Gibbons re 37 Letter. (GIBBONS, DANIEL) (Entered:
                            11/22/2017)
  11/27/2017             39 MOTION for Order to Show Cause and Temporary Restraining Order by
                            NEWMARKET PHARMACEUTICALS, LLC. (Attachments: # 1 Text of Proposed
                            Order, # 2 Certificate of Service)(PISANO, JOEL) (Entered: 11/27/2017)
  11/27/2017             40 MEMORANDUM in Support filed by NEWMARKET PHARMACEUTICALS, LLC re
                            39 MOTION for Order to Show Cause and Temporary Restraining Order (Confidential
                            Version) (PISANO, JOEL)

                               NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                               consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials

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                               sought to be sealed, or within 14 days following the date on which the last of such materials was filed under
                               temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered: 11/27/2017)

  11/27/2017             41 DECLARATION of Robert M. Pollaro re 39 MOTION for Order to Show Cause and
                            Temporary Restraining Order and Exhibits A-O by NEWMARKET
                            PHARMACEUTICALS, LLC. (PISANO, JOEL)

                               NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                               consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                               sought to be sealed, or within 14 days following the date on which the last of such materials was filed under
                               temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered: 11/27/2017)

  11/27/2017             42 DECLARATION of Mark Ridall re 39 MOTION for Order to Show Cause and
                            Temporary Restraining Order and Exhibits A-D by NEWMARKET
                            PHARMACEUTICALS, LLC. (PISANO, JOEL)

                               NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                               consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                               sought to be sealed, or within 14 days following the date on which the last of such materials was filed under
                               temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered: 11/27/2017)

  11/28/2017                   Set Deadlines as to 39 MOTION for Order to Show Cause and Temporary Restraining
                               Order. Motion set for 1/2/2018 before Judge Michael A. Shipp. Unless otherwise directed
                               by the Court, this motion will be decided on the papers and no appearances are required.
                               Note that this is an automatically generated message from the Clerk`s Office and does not
                               supersede any previous or subsequent orders from the Court. (km) (Entered: 11/28/2017)
  11/28/2017             43 TEXT ORDER: A settlement conference is hereby scheduled to take place on 12/8/2017
                            at 10:30 a.m. Counsel must appear in person at the conference. Clients must be reachable
                            by telephone. Ex parte confidential settlement memoranda are NOT required. However,
                            should a party choose to submit same, it must do so no later than 12/5/2017 and the
                            memorandum should not exceed 5 pages in length. So Ordered by Magistrate Judge
                            Tonianne J. Bongiovanni on 11/28/2017. (mm) (Entered: 11/28/2017)
  11/28/2017             44 REDACTION to 40 Memorandum in Support of Motion,, by NEWMARKET
                            PHARMACEUTICALS, LLC. (PISANO, JOEL) (Entered: 11/28/2017)
  11/28/2017             45 REDACTION to 41 Declaration,, of Robert M. Pollaro and Exhibits A-O by
                            NEWMARKET PHARMACEUTICALS, LLC. (PISANO, JOEL) (Entered: 11/28/2017)
  11/28/2017             46 REDACTION to 42 Declaration,, of Mark Ridall and Exhibits A-D by NEWMARKET
                            PHARMACEUTICALS, LLC. (PISANO, JOEL) (Entered: 11/28/2017)
  11/29/2017             47 TEXT ORDER setting a Telephone Conference for 11/29/2017 at 12:00 PM before Judge
                            Michael A. Shipp. Counsel for Plaintiff shall initiate the call. So Ordered by Judge
                            Michael A. Shipp on 11/29/2017. (gxh) (Entered: 11/29/2017)
  11/29/2017             48 Minute Entry for proceedings held before Judge Michael A. Shipp: Telephone
                            Conference held on 11/29/2017. Counsel advised that the Court will enter a briefing
                            schedule, if necessary, after the parties' conference with Magistrate Judge Tonianne J.
                            Bongiovanni. (Court Reporter: CATHY FORD.) (gxh) (Entered: 11/30/2017)
  12/05/2017             49 MOTION for Leave to Appear Pro Hac Vice for Meghan K. McGuire by DENNI O.
                            DAY, VETPHARM, INC.. (Attachments: # 1 Declaration of Daniel C. Gibbons, # 2
                            Declaration of Meghan K. McGuire, # 3 Text of Proposed Order)(GIBBONS, DANIEL)
                            (Entered: 12/05/2017)
  12/05/2017            50 MOTION for Leave to Appear Pro Hac Vice for Richard A. McGuirk by DENNI O.
                            DAY, VETPHARM, INC.. (Attachments: # 1 Declaration of Daniel C. Gibbons in
                      Case 5:18-cv-06147-BCW Document 65-1 Filed 04/29/19 Page 8 of 16
https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?469709083414533-L_1_0-1                                                                         7/15
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                               Support of Pro Hac Vice Admission of Richard A. McGuirk, # 2 Declaration in Support
                               of Pro Hac Vice Admission)(GIBBONS, DANIEL) (Entered: 12/05/2017)
  12/06/2017                   CLERK'S QUALITY CONTROL MESSAGE - The Declaration of Meghan K. McGuire
                               d.e. 49 attachment 2 and the Declaration of Richard A. McGuirk d.e. 50 attachment 2
                               submitted by Daniel Gibbons on 12/5/2017 contains an improper signature. Only
                               Registered Users are permitted to sign electronically filed documents with an s/. PLEASE
                               RESUBMIT THE DOCUMENT WITH A PROPER SIGNATURE. This submission will
                               remain on the docket unless otherwise ordered by the court. (km) (Entered: 12/06/2017)
  12/06/2017                   Set Deadlines as to 49 MOTION for Leave to Appear Pro Hac Vice for Meghan K.
                               McGuire, 50 MOTION for Leave to Appear Pro Hac Vice for Richard A. McGuirk.
                               Motion set for 12/5/2017 before Magistrate Judge Tonianne J. Bongiovanni. Unless
                               otherwise directed by the Court, this motion will be decided on the papers and no
                               appearances are required. Note that this is an automatically generated message from the
                               Clerk`s Office and does not supersede any previous or subsequent orders from the Court.
                               (km) (Entered: 12/06/2017)
  12/06/2017             51 DECLARATION of Richard A. McGuirk re 50 MOTION for Leave to Appear Pro Hac
                            Vice for Richard A. McGuirk (corrected signature) by DENNI O. DAY, VETPHARM,
                            INC.. (GIBBONS, DANIEL) (Entered: 12/06/2017)
  12/06/2017             52 DECLARATION of Meghan K. McGuire re 49 MOTION for Leave to Appear Pro Hac
                            Vice for Meghan K. McGuire (corrected signature) by DENNI O. DAY, VETPHARM,
                            INC.. (GIBBONS, DANIEL) (Entered: 12/06/2017)
  12/06/2017             53 ORDER granting 49 Motion for Leave to Appear Pro Hac Vice as to Meghan K.
                            McGuire and granting 50 Motion for Leave to Appear Pro Hac Vice as to Richard A.
                            McGuirk. Signed by Magistrate Judge Tonianne J. Bongiovanni on 12/6/2017. (km)
                            (Entered: 12/06/2017)
  12/08/2017                   Minute Entry for proceedings held before Magistrate Judge Tonianne J. Bongiovanni:
                               Settlement Conference held on 12/8/2017. The parties shall submit a joint proposed case
                               management plan to the Court electronically in Word format to
                               tjb_orders@njd.uscourts.gov no later than 12/15/2017. (mm) (Entered: 12/11/2017)
  12/12/2017             54 TEXT ORDER: The following briefing schedule shall apply to: (i) Plaintiffs' Motion for
                            an Order to Show Cause and Temporary Restraining Order (ECF No. 39 ); and (ii)
                            Defendant(s)' anticipated cross-motion to dismiss: December 18, 2017: deadline for
                            Defendant(s) to file opposition to Plaintiffs motion and for Defendant(s) to file a cross-
                            motion to dismiss; December 26, 2017: deadline for Plaintiff to file a reply in support of
                            its motion and to oppose Defendant(s)' cross-motion; January 3, 2018: Deadline for
                            Defendant(s) to file a reply in support of its cross-motion. So Ordered by Judge Michael
                            A. Shipp on 12/12/2017. (gxh) Modified on 12/12/2017 (gxh). (Entered: 12/12/2017)
  12/12/2017             55 Notice of Request by Pro Hac Vice Robert M. Pollaro to receive Notices of Electronic
                            Filings. (PISANO, JOEL) (Entered: 12/12/2017)
  12/12/2017             56 Notice of Request by Pro Hac Vice John T. Moehringer to receive Notices of Electronic
                            Filings. (PISANO, JOEL) (Entered: 12/12/2017)
  12/12/2017                   Pro Hac Vice fee of $300 received as Meghan K. McGuire, Esq. and Richard A.
                               McGuirk, Esq., receipt number TRE086924 (mps) (Entered: 12/12/2017)
  12/12/2017             57 Notice of Request by Pro Hac Vice Meghan K. McGuire to receive Notices of Electronic
                            Filings. (GIBBONS, DANIEL) (Entered: 12/12/2017)
  12/12/2017            58 Notice of Request by Pro Hac Vice Richard A. McGuirk to receive Notices of Electronic
                            Filings. (GIBBONS, DANIEL) (Entered: 12/12/2017)
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https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?469709083414533-L_1_0-1                                                   8/15
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  12/13/2017                   Pro Hac Vice counsel, MEGHAN MCGUIRE and RICHARD A. MCGUIRK, has been
                               added to receive Notices of Electronic Filing. Pursuant to L.Civ.R. 101.1, only local
                               counsel are entitled to sign and file papers, enter appearances and receive payments on
                               judgments, decrees or orders. (km) (Entered: 12/13/2017)
  12/13/2017                   Pro Hac Vice counsel, JOHN T. MOEHRINGER and ROBERT M. POLLARO, has been
                               added to receive Notices of Electronic Filing. Pursuant to L.Civ.R. 101.1, only local
                               counsel are entitled to sign and file papers, enter appearances and receive payments on
                               judgments, decrees or orders. (km) (Entered: 12/13/2017)
  12/18/2017             59 Second MOTION for Temporary Restraining Order and Prelim Injunction and in Support
                            of Defendants' Cross Motion to Dismiss the Notice of Cross-Motion to Compel
                            Arbitration and Stay Action by DENNI O. DAY, VETPHARM, INC.. (GIBBONS,
                            DANIEL) (Entered: 12/18/2017)
  12/18/2017             60 Cross MOTION to Dismiss by DENNI O. DAY, VETPHARM, INC.. (GIBBONS,
                            DANIEL) (Entered: 12/18/2017)
  12/18/2017             61 MEMORANDUM in Support filed by DENNI O. DAY, VETPHARM, INC. re 60 Cross
                            MOTION to Dismiss , 39 MOTION for Order to Show Cause and Temporary
                            Restraining Order *** Memorandum in SUPPORT of 60 Defendants' Cross-motion to
                            Dismiss and in OPPOSITION to 39 Motion for TRO and Preliminary Injunction
                            (GIBBONS, DANIEL)

                               NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                               consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                               sought to be sealed, or within 14 days following the date on which the last of such materials was filed under
                               temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered: 12/18/2017)

  12/18/2017             62 AFFIDAVIT in Support filed by DENNI O. DAY, VETPHARM, INC. re 39 MOTION
                            for Order to Show Cause and Temporary Restraining Order, 60 Cross MOTION to
                            Dismiss *** DECLARATION OF MEGHAN K. McGUIRE in SUPPORT of 60
                            Defendants' Cross-motion to Dismiss and in OPPOSITION to 39 Motion for TRO and
                            Preliminary Injunction (Attachments: # 1 Exhibit A to McGuire Declaration, # 2 Exhibit
                            B to McGuire Declaration, # 3 Exhibit C to McGuire Declaration, # 4 Exhibit D to
                            McGuire Declaration, # 5 Exhibit E to McGuire Declaration, # 6 Exhibit F to McGuire
                            Declaration, # 7 Exhibit G to McGuire Declaration, # 8 Exhibit H to McGuire
                            Declaration)(GIBBONS, DANIEL)

                               NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                               consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                               sought to be sealed, or within 14 days following the date on which the last of such materials was filed under
                               temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered: 12/18/2017)

  12/18/2017             63 AFFIDAVIT in Support filed by DENNI O. DAY, VETPHARM, INC. re 60 Cross
                            MOTION to Dismiss , 39 MOTION for Order to Show Cause and Temporary
                            Restraining Order *** DECLARATION OF DENNI O. DAY in SUPPORT of 60
                            Defendants' Cross-motion to Dismiss and in OPPOSITION to 39 Motion for TRO and
                            Preliminary Injunction (GIBBONS, DANIEL)

                               NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                               consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                               sought to be sealed, or within 14 days following the date on which the last of such materials was filed under
                               temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered: 12/18/2017)

  12/18/2017                Set Deadlines as to 59 Second MOTION for Temporary Restraining Order and Prelim
                            Injunction and in Support of Defendants' Cross Motion to Dismiss the Notice of Cross-
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https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?469709083414533-L_1_0-1                                                                         9/15
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                               Motion to Compel Arbitration and Stay Action and 60 Cross MOTION to Dismiss . Cross
                               Motions set for 1/2/2018 before Judge Michael A. Shipp. Unless otherwise directed by
                               the Court, this motion will be decided on the papers and no appearances are required.
                               Note that this is an automatically generated message from the Clerk`s Office and does not
                               supersede any previous or subsequent orders from the Court. (km) (Entered: 12/18/2017)
  12/19/2017                   CLERK'S QUALITY CONTROL MESSAGE - The 59 Notice of Motion submitted by
                               Daniel Gibbons on 12/18/2017 was filed incorrectly as a Motion for Temporary
                               Restraining Order and is a duplicate of document 60 . The Clerk's Office has terminated
                               the calendar event created by this filing. This message is for informational purposes only.
                               (mps) (Entered: 12/19/2017)
  12/19/2017             64 Exhibit to 60 Motion to Dismiss, 63 Affidavit in Support of Motion,,, 61 Memorandum in
                            Support of Motion,,, 62 Affidavit in Support of Motion,,,, by DENNI O. DAY,
                            VETPHARM, INC.. (Attachments: # 1 Certificate of Service ; Proposed Order granting
                            Defendants' Cross Motion to Dismiss)(GIBBONS, DANIEL) (Entered: 12/19/2017)
  12/21/2017             65 LETTER ORDER that the schedule set forth in Attachment A to the parties' Joint
                            Discovery Plan shall govern this matter. Signed by Magistrate Judge Tonianne J.
                            Bongiovanni on 12/21/2017. (km) (Entered: 12/22/2017)
  12/26/2017             66 BRIEF in Opposition filed by NEWMARKET PHARMACEUTICALS, LLC re 60 Cross
                            MOTION to Dismiss and in Further Support of NewMarket's Motion for Temporary
                            Restraining Order and Preliminary Injunction (Confidential) (Attachments: # 1
                            Declaration of Robert M. Pollaro and Exs. A-F, # 2 Declaration of Mark Ridall, # 3
                            Certificate of Service)(PISANO, JOEL)

                               NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                               consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                               sought to be sealed, or within 14 days following the date on which the last of such materials was filed under
                               temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered: 12/26/2017)

  12/27/2017             67 REDACTION to 66 Brief in Opposition to Motion,,, and in Further Support of
                            NewMarket's Motion for Temporary Restraining Order and Preliminary Injunction by
                            NEWMARKET PHARMACEUTICALS, LLC. (Attachments: # 1 Declaration of Robert
                            M. Pollaro with Exs. A-F (Redacted), # 2 Declaration of Mark Ridall (Redacted))
                            (PISANO, JOEL) (Entered: 12/27/2017)
  01/03/2018             68 REPLY to Response to Motion filed by DENNI O. DAY, VETPHARM, INC. re 60 Cross
                            MOTION to Dismiss (Attachments: # 1 Certificate of Service)(GIBBONS, DANIEL)

                               NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                               consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                               sought to be sealed, or within 14 days following the date on which the last of such materials was filed under
                               temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered: 01/03/2018)

  01/17/2018             69 REDACTION to 61 Memorandum in Support of Motion,,, Memorandum in Support of
                            Defendants' Cross-motion to Dismiss and in Opposition to Motion for TRO and
                            Preliminary Injunction by DENNI O. DAY, VETPHARM, INC.. (GIBBONS, DANIEL)
                            (Entered: 01/17/2018)
  01/17/2018             70 REDACTION to 62 Affidavit in Support of Motion,,,, Declaration of Meghan K.
                            McGuire with Exhibits A-H (Redacted) in Support of Defendants' Cross-motion to
                            Dismiss and in Opposition to Motion for TRO and Preliminary Injunction by DENNI O.
                            DAY, VETPHARM, INC.. (GIBBONS, DANIEL) (Entered: 01/17/2018)
  01/17/2018           71 REDACTION to 63 Affidavit in Support of Motion,,, Declaration of Denni O. Day in
                            Support of Defendants' Cross-motion to Dismiss and in Opposition to Motion for TRO
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https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?469709083414533-L_1_0-1                                                                     10/15
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                               and Preliminary Injunction by DENNI O. DAY, VETPHARM, INC.. (GIBBONS,
                               DANIEL) (Entered: 01/17/2018)
  01/17/2018             72 REDACTION to 68 Reply to Response to Motion,, regarding Cross-motion to Dismiss
                            by DENNI O. DAY, VETPHARM, INC.. (GIBBONS, DANIEL) (Entered: 01/17/2018)
  01/17/2018             73 TEXT ORDER: Oral argument regarding the pending Motion for Order to Show Cause
                            and Temporary Restraining Order (ECF No. 39 ) and Cross-Motion to Dismiss (ECF No.
                            60 ) is scheduled for Friday, January 26, 2018, at 11:00 a.m. in Courtroom 5W. So
                            Ordered by Judge Michael A. Shipp on 1/17/2018. (gxh) (Entered: 01/17/2018)
  01/17/2018             74 MOTION to Seal by NEWMARKET PHARMACEUTICALS, LLC. (Attachments: # 1
                            Proposed Findings of Fact and Conclusions of Law, # 2 Declaration of Joel A. Pisano
                            with Ex. 1, # 3 Declaration of Meghan K. McGuire, # 4 Text of Proposed Order, # 5
                            Statement in Lieu of Brief, # 6 Certificate of Service)(PISANO, JOEL) (Entered:
                            01/17/2018)
  01/17/2018                   Set Deadlines as to 74 MOTION to Seal . Motion set for 2/20/2018 before Magistrate
                               Judge Tonianne J. Bongiovanni. Unless otherwise directed by the Court, this motion will
                               be decided on the papers and no appearances are required. Note that this is an
                               automatically generated message from the Clerk`s Office and does not supersede any
                               previous or subsequent orders from the Court. (km) (Entered: 01/17/2018)
  01/22/2018             75 TEXT ORDER: The parties are directed to appear for an in person status conference
                            before the Hon. Tonianne J. Bongiovanni, in Courtroom 6E, on Friday, January 26, 2018
                            at 9:30 a.m. So Ordered by Magistrate Judge Tonianne J. Bongiovanni on 1/22/2018.
                            (mm) (Entered: 01/22/2018)
  01/22/2018             76 Letter from Joel A. Pisano to the Hon. Michael A. Shipp, U.S.D.J. and to the Hon.
                            Tonianne J. Bongiovanni, U.S.M.J. (Filed Under Seal). (PISANO, JOEL)

                               NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                               consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                               sought to be sealed, or within 14 days following the date on which the last of such materials was filed under
                               temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered: 01/22/2018)

  01/24/2018             77 Letter from Daniel C. Gibbons in Response to Plainitiff's January 22nd Letter re 76
                            Letter,,. (GIBBONS, DANIEL)

                               NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                               consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                               sought to be sealed, or within 14 days following the date on which the last of such materials was filed under
                               temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered: 01/24/2018)

  01/26/2018             78 90 DAY ORDER Administratively Terminating Action. Signed by Judge Michael A.
                            Shipp on 1/26/2018. (km) (Entered: 01/26/2018)
  01/26/2018                   Set Deadlines: Administrative Termination deadline set for 4/26/2018 (km) (Entered:
                               01/26/2018)
  01/26/2018                   Text Minute Entry for proceedings held before Magistrate Judge Tonianne J.
                               Bongiovanni: Settlement Conference held on 1/26/2018. (mm) (Entered: 01/26/2018)
  02/09/2018             79 REDACTION to 76 Letter,, by NEWMARKET PHARMACEUTICALS, LLC.
                            (PISANO, JOEL) (Entered: 02/09/2018)
  02/09/2018             80 MOTION to Seal by NEWMARKET PHARMACEUTICALS, LLC. (Attachments: # 1
                            Declaration of Joel A. Pisano, # 2 Proposed Findings of Fact and Conclusions of Law, # 3

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https://ecf.njd.uscourts.gov/cgi-bin/DktRpt.pl?469709083414533-L_1_0-1                                                                         11/15
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                               Statement in Lieu of Brief, # 4 Text of Proposed Order, # 5 Certificate of Service)
                               (PISANO, JOEL) (Entered: 02/09/2018)
  02/09/2018             81 REDACTION to 77 Letter,, by DENNI O. DAY, VETPHARM, INC.. (GIBBONS,
                            DANIEL) (Entered: 02/09/2018)
  02/13/2018                   Set Deadlines as to 80 MOTION to Seal . Motion set for 3/5/2018 before Magistrate
                               Judge Tonianne J. Bongiovanni. Unless otherwise directed by the Court, this motion will
                               be decided on the papers and no appearances are required. Note that this is an
                               automatically generated message from the Clerk`s Office and does not supersede any
                               previous or subsequent orders from the Court. (km) (Entered: 02/13/2018)
  04/17/2018             82 ORDER granting 80 Motion to Seal. Signed by Magistrate Judge Tonianne J.
                            Bongiovanni on 4/17/2018. (km) (Entered: 04/17/2018)
  04/26/2018             83 Letter from Joel A. Pisano to the Honorable Michael A. Shipp, U.S.D.J. (PISANO,
                            JOEL) (Entered: 04/26/2018)
  04/27/2018             84 LETTER ORDER extending the Administrative Termination deadline to 7/25/2018.
                            Signed by Judge Michael A. Shipp on 4/27/2018. (km) (Entered: 04/27/2018)
  06/06/2018             85 TEXT ORDER: Counsel as well as clients with settlement authority are directed to
                            appear for an in person settlement conference before the Hon. Tonianne J. Bongiovanni,
                            in Courtroom 6E, on Thursday, July 12, 2018 at 11:00 a.m. So Ordered by Magistrate
                            Judge tonianne J. Bongiovanni. (mm) (Entered: 06/06/2018)
  07/12/2018                   Text Minute Entry for proceedings held before Magistrate Judge Tonianne J.
                               Bongiovanni: Settlement Conference held on 7/12/2018. (mm) (Entered: 07/12/2018)
  07/12/2018             86 LETTER ORDER Reopening case and reactivating motions, returnable for 8/6/2018.
                            Signed by Magistrate Judge Tonianne J. Bongiovanni on 7/12/2018. (km) (Entered:
                            07/12/2018)
  07/12/2018                   Set Deadlines as to 39 MOTION for Order to Show Cause and Temporary Restraining
                               Order and 60 Cross MOTION to Dismiss . Motions set for 8/6/2018 before Judge
                               Michael A. Shipp. Unless otherwise directed by the Court, this motion will be decided on
                               the papers and no appearances are required. (km) (Entered: 07/12/2018)
  09/07/2018             87 Letter from Joel A. Pisano to the Hon. Michael A. Shipp, U.S.D.J. advising of a recently-
                            filed lawsuit against NewMarket. (Attachments: # 1 Exhibit 2, # 2 Exhibit 3)(PISANO,
                            JOEL) (Entered: 09/07/2018)
  09/07/2018             88 Exhibit to 87 Letter by NEWMARKET PHARMACEUTICALS, LLC. (PISANO, JOEL)

                               NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                               consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                               sought to be sealed, or within 14 days following the date on which the last of such materials was filed under
                               temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered: 09/07/2018)

  09/10/2018             89 REDACTION to 88 Exhibit (to Document),, by NEWMARKET
                            PHARMACEUTICALS, LLC. (PISANO, JOEL) (Entered: 09/10/2018)
  09/11/2018             90 Letter from Daniel Gibbons to the Hon. Michael A. Shipp re (87 in 3:17-cv-01852-MAS-
                            TJB) Letter. (GIBBONS, DANIEL)

                               NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                               consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                               sought to be sealed, or within 14 days following the date on which the last of such materials was filed under
                               temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered: 09/11/2018)

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  09/12/2018             91 Letter from Joel A. Pisano to the Honorable Michael A. Shipp, U.S.D.J. re 90 Letter,,.
                            (PISANO, JOEL) (Entered: 09/12/2018)
  09/24/2018             92 Letter from Daniel C. Gibbons re 90 Letter,, 91 Letter. (GIBBONS, DANIEL) (Entered:
                            09/24/2018)
  09/26/2018             93 MOTION to Seal D.E. 88 and D.E. 90 by NEWMARKET PHARMACEUTICALS,
                            LLC. (Attachments: # 1 Declaration of Joel A. Pisano with Exhibit 1, # 2 Proposed
                            Findings of Fact and Conclusions of Law, # 3 Statement in Lieu of Brief, # 4 Text of
                            Proposed Order, # 5 Certificate of Service)(PISANO, JOEL) (Entered: 09/26/2018)
  09/26/2018                   Set Deadlines as to 93 MOTION to Seal D.E. 88 and D.E. 90. Motion set for 11/5/2018
                               before Magistrate Judge Tonianne J. Bongiovanni. Unless otherwise directed by the
                               Court, this motion will be decided on the papers and no appearances are required. Note
                               that this is an automatically generated message from the Clerk`s Office and does not
                               supersede any previous or subsequent orders from the Court. (km) (Entered: 09/26/2018)
  10/26/2018             94 NOTICE of Appearance by KELLY JONES HOWELL on behalf of DENNI O. DAY,
                            VETPHARM, INC. (HOWELL, KELLY) (Entered: 10/26/2018)
  10/29/2018             95 Letter from Richard A. McGuirk and Meghan K. McGuire withdrawing pro hac vice.
                            (GIBBONS, DANIEL) (Entered: 10/29/2018)
  10/29/2018             96 Notice to be terminated and withdraw from Notices of Electronic filing as to case.
                            Attorney DANIEL CASE GIBBONS terminated. (GIBBONS, DANIEL) (Entered:
                            10/29/2018)
  10/30/2018             97 ORDER granting 93 Motion to Seal D.E. 88 and D.E. 90 . Signed by Magistrate Judge
                            Tonianne J. Bongiovanni on 10/30/2018. (km) (Entered: 10/30/2018)
  11/05/2018             98 MOTION for Leave to Appear Pro Hac Vice of Douglas A. Foss by DENNI O. DAY,
                            VETPHARM, INC.. (Attachments: # 1 Declaration of Compliance of Kelly Jones
                            Howell, # 2 Declaration of Admission and Good Standing of Douglas A. Foss, # 3 Text
                            of Proposed Order, # 4 Certificate of Service)(HOWELL, KELLY) (Entered: 11/05/2018)
  11/05/2018                   Set Deadlines as to 98 MOTION for Leave to Appear Pro Hac Vice of Douglas A. Foss.
                               Motion set for 12/3/2018 before Magistrate Judge Tonianne J. Bongiovanni. Unless
                               otherwise directed by the Court, this motion will be decided on the papers and no
                               appearances are required. Note that this is an automatically generated message from the
                               Clerk`s Office and does not supersede any previous or subsequent orders from the Court.
                               (km) (Entered: 11/05/2018)
  12/06/2018             99 ORDER granting 98 Motion for Leave to Appear Pro Hac Vice as to Douglas A. Foss.
                            Signed by Magistrate Judge Tonianne J. Bongiovanni on 12/06/2018. (jem) (Entered:
                            12/07/2018)
  12/13/2018           100 MEMORANDUM OPINION filed. Signed by Judge Michael A. Shipp on 12/12/2018.
                           (km) (Entered: 12/13/2018)
  12/13/2018           101 ORDER denying 39 Motion for Order to Show Cause and denying 60 Motion to Dismiss
                           without prejudice. Parties shall return to Arbitration by 2/12/2019. The parties shall file a
                           Motion to Seal by 12/26/2018; if parties fail to do so the seal shall be lifted. The stay is
                           reinstated. Signed by Judge Michael A. Shipp on 12/12/2018. (km) (Entered: 12/13/2018)
  12/19/2018           102 Notice of Request by Pro Hac Vice Douglas A. Foss to receive Notices of Electronic
                           Filings. ( Pro Hac Vice fee $ 150 receipt number 0312-9255996.) (HOWELL, KELLY)
                           (Entered: 12/19/2018)
  12/19/2018                   Pro Hac Vice counsel, DOUGLAS A. FOSS, has been added to receive Notices of
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                               Electronic Filing. Pursuant to L.Civ.R. 101.1, only local counsel are entitled to sign and
                               file papers, enter appearances and receive payments on judgments, decrees or orders.
                               (km) (Entered: 12/19/2018)
  02/11/2019           103 Letter from Joel A. Pisano to the Hon. Michael A. Shipp, U.S.D.J. re: December 12, 2018
                           Order re 101 Order on Motion for Order to Show Cause,, Order on Motion to Dismiss,.
                           (Attachments: # 1 Exhibit A-B)(PISANO, JOEL) (Entered: 02/11/2019)
  02/12/2019           104 TEXT ORDER: The Court is in receipt of Newmarket's correspondence (ECF No. 103 )
                           notifying the Court that Vetpharm did not intend to refile for arbitration, and asking the
                           Court for an emergency clarification as to whether VetPharm would be in breach of the
                           Court's December 12, 2018 Order (ECF No. 101 ). The Court orders Vetpharm to file a
                           response by February 19, 2019. So Ordered by Judge Michael A. Shipp on 2/12/2019.
                           (gxh) Modified on 2/12/2019 (gxh). (Entered: 02/12/2019)
  02/13/2019           105 RESPONSE re 103 Letter. (Attachments: # 1 Exhibit A - 2018.12.06 Letter from
                           NewMarket's counsel, # 2 Exhibit B - 2018.12.08 Letter from VetPharm's counsel, # 3
                           Exhibit C - 2019.02.12 NewMarket's Demand for arbitration)(HOWELL, KELLY)
                           (Entered: 02/13/2019)
  02/19/2019           106 TEXT ORDER: The Court is receipt of the parties' correspondence (ECF Nos. 103 , 105 )
                           regarding the Court's December 12, 2018 Order requiring the parties to submit to
                           arbitration by February 12, 2019 (ECF No. 101 ). The Court reserves in all respects
                           pending the AAA's decision as to whether it will grant NewMarket a hardship exemption.
                           So Ordered by Judge Michael A. Shipp on 2/19/2019. (gxh) (Entered: 02/19/2019)
  02/27/2019           107 Letter from Joel A. Pisano to the Hon. Michael A. Shipp, U.S.D.J. re 106 Order,.
                           (PISANO, JOEL) (Entered: 02/27/2019)
  02/28/2019           108 RESPONSE re 107 Letter. (Attachments: # 1 Exhibit A - Email Correspndence)
                           (HOWELL, KELLY) (Entered: 02/28/2019)
  03/06/2019           109 TEXT ORDER: The Court is in receipt of the parties' February 27, 2019 and February
                           28, 2019 correspondence. (ECF Nos. 107 , 108 .) The Court agrees with VetPharm that "
                           [u]nless and until AAA dismisses the arbitration, further proceedings in this Court are
                           unwarranted." (ECF No. 108 .) The matter, therefore, remains stayed pending arbitration,
                           and the Court denies NewMarket's request for a telephone status conference before Judge
                           Bongiovanni. So Ordered by Judge Michael A. Shipp on 3/6/2019. (gxh) (Entered:
                           03/06/2019)
  04/11/2019            110 Letter from Joel A. Pisano to the Hon. Michael A. Shipp, U.S.D.J. in response to the
                            Court's March 6, 2019 Text Order re 109 Order,,. (PISANO, JOEL) (Entered:
                            04/11/2019)
  04/12/2019            111 Letter from Kelly Jones Howell re 110 Letter. (HOWELL, KELLY) (Entered:
                            04/12/2019)
  04/12/2019            112 CONSENT ORDER granting admission pro hac vice as to Kyle D. Gooch, Esq. Signed
                            by Magistrate Judge Tonianne J. Bongiovanni on 4/12/2019. (mmh) (Entered:
                            04/12/2019)
  04/12/2019            113 MOTION for Temporary Restraining Order , MOTION for Order to Show Cause by
                            DENNI O. DAY, VETPHARM, INC.. (Attachments: # 1 Declaration of Kelly Jones
                            Howell, # 2 Exhibit 1 to Declaration of Kelly Jones Howell - Verified Petition for
                            Damages, # 3 Exhibit 2 to Declaration of Kelly Jones Howell - 3rd Party Complaint
                            against VetPharm, Inc., # 4 Exhibit 3 to Declaration of Kelly Jones Howell - 4/4/2019
                            Letter to R. Pollaro, # 5 Declaration of Denni O. Day, # 6 Exhibit A to Declaration of

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4/29/2019                                            CM/ECF LIVE - U.S. District Court for the District of New Jersey

                               Denni O. Day, # 7 Exhibit B to Declaration of Denni O. Day, # 8 Brief in Support of
                               Motion to Enjoin, # 9 Certificate of Service)(HOWELL, KELLY) (Entered: 04/12/2019)
  04/12/2019            114 Exhibit to 113 Motion for TRO,,, Motion for Order to Show Cause,, by DENNI O. DAY,
                            VETPHARM, INC.. (Attachments: # 1 Brief in Support of Motion to Enjoin, # 2 Exhibit
                            A to Declaration of Denni O. Day)(HOWELL, KELLY)

                               NOTICE TO COUNSEL: Counsel is advised that pursuant to Local Civil Rule 5.3(c)(2), a single,
                               consolidated motion to seal shall be filed within 14 days following the completed briefing of the materials
                               sought to be sealed, or within 14 days following the date on which the last of such materials was filed under
                               temporary seal if the motion is resolved, unless otherwise directed by the Court. (Entered: 04/12/2019)

  04/15/2019            115 Notice of Request by Pro Hac Vice Kyle D. Gooch to receive Notices of Electronic
                            Filings. (HOWELL, KELLY) (Entered: 04/15/2019)
  04/15/2019            116 REDACTION to 114 Exhibit (to Document),, 113 MOTION for Temporary Restraining
                            Order MOTION for Order to Show Cause by DENNI O. DAY, VETPHARM, INC..
                            (Attachments: # 1 Brief in Support, # 2 Exhibit A to Declaration of Denni O. Day)
                            (HOWELL, KELLY) (Entered: 04/15/2019)
  04/15/2019            117 MEMORANDUM ORDER denying 113 VetPharm's Application for a Temporary
                            Restraining Order and an Order to Show Cause Why a Preliminary Injunction Should Not
                            be Issued; that, by April 29, 2019, the parties must file a motion to seal, otherwise the
                            Court will issue an order unsealing this Memorandum Order. Signed by Judge Michael A.
                            Shipp on 4/15/2019. (gxh) (Entered: 04/15/2019)
  04/16/2019                   Pro Hac Vice counsel, KYLE D. GOOCH, has been added to receive Notices of
                               Electronic Filing. Pursuant to L.Civ.R. 101.1, only local counsel are entitled to sign and
                               file papers, enter appearances and receive payments on judgments, decrees or orders.
                               (jem) (Entered: 04/16/2019)
  04/24/2019                   Pro Hac Vice fee of $150 received as to Kyle D. Gooch, Esq., receipt number
                               TRE101776. (jem) (Entered: 04/24/2019)



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